Case 1:18-cr-00204-NGG-VMS Document 929 Filed 09/24/20 Page 1 of 2 PagelD #: 16325
RONALD SULLIVAN LAW, PLLC

Ronald S. Sullivan Jr.

 

September 24, 2020
By ECF

The Honorable Nicholas G. Garaufis
Senior United States District Judge
United States District Court

225 Cadman Plaza East

Brooklyn, NY 11201

Re: U.S. v. Clare Bronfman, 18-cr204 (NGG)

Dear Judge Garaufis:

Undersigned counsel respectfully submits this letter in response to the government's letter of
September 24, 2020.1

The government asserts that Clare Bronfman’s Response to the Government’s Sentencing
Memorandum (“Response Memorandum”) “does not specifically dispute any of the underlying
facts recited by the government or the Probation Department.” See Docket Entry 928, dated
September 24, at 1. In truth, the bulk of the Response Memorandum, as well as our Sentencing
Memorandum, challenges specific disputed statements of facts in the Probation Department's
Presentence Report, as well as factual errors in the government's sentencing submission.

Indeed, the government’s position on this issue is fatally undermined by the very letter it just
sent to the Court. Remarkably, the government argues that the Response Memorandum does
not present disputed facts, yet, at the same time, the government buries in footnote 1 of its
letter that the government is correcting a disputed fact. While the government purports to be
“clarify[ing]” its position on the KAR 2018 Trust, there is nothing — absolutely nothing — unclear
about what the government wrote. The government stated, “even after Raniere’s conviction,
Bronfman has continued to wire funds to the ‘KAR 2018 Trust’...” (See Gov't. Sentencing Memo
at 57) (emphasis supplied). That statement is both crystal clear and flatly wrong. The need for
the government to correct, not clarify, its averment underscores the need for a Fatico hearing.

 

 

1 The government misleads the Court by framing Clare’s Response to the Government's Sentencing Memorandum
as a “renewed request” for a Fatico hearing. This, as the Court knows, it not a “renewed” request. At the most
recent status hearing on this matter held via video conference on August 18, the Court ordered undersigned
counsel to include the specific objections to the PSR in Ms. Bronfman’s sentencing submissions. We complied. To
characterize this compliance as “renewing” a request is both unfair and contrary to the Court's instructions on this

(202) 935-4347 1300 I Street NW
rsullivan@ronaldsullivanlaw.com Suite 400 E

Washington, DC 20005

 
 

Case 1:18-cr-00204-NGG-VMS Document 929 Filed 09/24/20 Page 2 of 2 PagelD #: 16326

Many other statements of purported fact by the government need resolution, as well. Counsel
even underlined, and sometimes bolded, such disputed statements of facts in the Response
Memorandum for expository ease. Here are two, by way of example, but the Response
Memorandum speaks for itself in regard to disputed facts that require a Fatico hearing to
resolve. The PSR falsely claims that Clare “Bronfman used her wealth to support the below-
noted crimes,” PSR at Para. 16, and that she “participated in efforts to recruit and secure
immigration status for non-citizens so that they could .. . become sexual partners for Raniere,”
Id. at Para. 21. We address these two false statements of fact in our Memoranda, and will not
re-argue the points here.

The government has made and continues to make false statements of fact with respect to
Clare’s involvement in DOS and related activities that have been adjudged criminal. That the
government refuses even to concede that it has no evidence that Clare provided as a much as a
penny to support DOS is deeply disturbing. Instead it remains silent and relies on semantic
sleight-of-hand to invite conclusions unsupported by facts and, instead, buries, in yet another
footnote, the startling admission that the government “has not argued that DOS victims
disclosed their membership in DOS” to Clare. See Docket Entry 928, dated September 24, at 2.
With this admission, the government should strike all language in its sentencing submissions
that states, suggests, or implies that Clare had anything to do with the recruitment or
solicitation of any women to enter or remain in DOS. The government and the PSR’s repeated
mention of branding, for example, is inapplicable to Clare, as the government seems now to
admit that DOS members did not “disclose[] their membership in DOS to [Clare].” Id. Such
references should be redacted and the Court should not rely on them in sentencing Clare.

The government's letter from earlier today has further complicated the factual predicates upon
which Clare should be sentenced, and supports our request for a Fatico hearing. Proceeding on
this record without a Fatico hearing deprives Clare of her rights to fundamental fairness under

the Due Process Clause.

Sincerely,

Ronald S. Sullivan Jr.
Counsel for Ms. Bronfman

 
